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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 MISH INTERNATIONAL MONETARY INC.,

                 Plaintiff,

            v.

 VEGA CAPITAL LONDON, LTD., ADRIAN                   No. 20 CV 4577
 SPIRES, PAUL COMMINS, GEORGE
 COMMINS, CHRISTOPHER ROASE,                         Judge Manish S. Shah
 ELLIOTT PICKERING, ARITSOS
 DEMETRIOU, CONNOR YOUNGER, JAMES
 BIAGIONI, HENRY LUNN, PAUL SUTTON,
 and MATTHEW RHYS THOMPSON,

                 Defendants.

                              MEMORANDUM OPINION AND ORDER

         Plaintiff Mish International Monetary Inc. alleges that defendants coordinated

a scheme to manipulate the West Texas Intermediate crude oil futures market. The

alleged scheme unfolded on April 20, 2020, when prices went negative for the first

time in history. Most of Mish’s claims under the Sherman Act, the Commodity

Exchange Act, and its state-law claim for unjust enrichment survived defendants’

second motion to dismiss. Mish Int’l Monetary Inc. v. Vega Cap. London, Ltd., 648

F.Supp.3d 980 (N.D. Ill. 2022). Mish now seeks to certify a class under Federal Rule

of Civil Procedure 23(b)(3).

I.       Legal Standards

         The party seeking class certification under Federal Rule of Civil Procedure 23

bears the burden of demonstrating that certification is proper by a preponderance of

the evidence. Jacks v. DirectSat USA, LLC, 118 F.4th 888, 895 (7th Cir. 2024). I must
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resolve any disputes that are material to class certification, even if such analysis

overlaps with the merits. Amgen Inc. v. Connecticut Ret. Plans & Tr. Funds, 568 U.S.

455, 465–66 (2013). When an expert’s testimony is “critical to class certification,” I

must rule on the admissibility of challenged testimony. Messner v. Northshore Univ.

HealthSystem, 669 F.3d 802, 812 (7th Cir. 2012) (citing Am. Honda Motor Co. v. Allen,

600 F.3d 813, 815–16 (7th Cir. 2010)). “Merits questions may be considered to the

extent—but only to the extent—that they are relevant to determining whether the

Rule 23 prerequisites for class certification are satisfied.” Amgen, 568 U.S. at 466.

Class certification proceedings are not “a dress rehearsal for a trial on the merits.”

Messner, 669 F.3d at 811.

II.   Background

      I assume familiarity with the earlier opinions ruling on defendants’ motions to

dismiss. See Mish Int’l Monetary Inc. v. Vega Cap. London, Ltd., 596 F.Supp.3d 1076

(N.D. Ill. 2022), and Mish Int’l Monetary Inc. v. Vega Cap. London, Ltd., 648

F.Supp.3d 980 (N.D. Ill. 2022). Those opinions explain at greater length the contours

of the crude oil futures market, the alleged scheme, and events on April 20, 2020. In

brief, plaintiff Mish International Monetary, Inc. alleges that defendants engaged in

a scheme to manipulate the price of West Texas Intermediary crude oil futures

contracts. See Mish I, 596 F.Supp.3d at 1085–90, and Mish II, 648 F.Supp.3d at 986–

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       A.     The Parties

       Plaintiff Mish International Monetary, Inc. is a company that deals in rare

coins and precious metals. [129] ¶ 29; [312-16] at 34:4–35:3. 1 Robert Mish is the

company’s sole owner. [312-16] at 301:14–20. At 12:42 p.m. Central Time on April 20,

Mish purchased ten May Contracts for West Texas Intermediary crude oil via its

broker at $2.15 per barrel. 2 [312-16] 198:25–199:15. Thirty-four minutes later at 1:16

p.m., Mish sold ten May Contracts at $7.09 and $7.10 per barrel to liquidate its long

position, incurring a net loss of $92,490. [129] ¶ 29; [312-16] 137:19–138:10.

       Defendant Vega Capital London, Ltd. traded May futures contracts of WTI

crude oil on April 20 through GH Financial, a futures brokerage firm. [129] ¶¶ 30–

31. Defendant Adrian Spires is Vega’s sole owner. [129] ¶ 34.

       Individual traders maintained accounts with Vega. [129] ¶ 32. The traders

entered orders and made trades through GH Financial in the name of and through

Vega. [129] ¶ 32. The traders each committed capital to Vega to guarantee each

other’s losses. [129] ¶ 4. Ten trading defendants remain in this case: Paul Commins,

George Commins, Christopher Roase, Elliott Pickering, Aritsos Demetriou, Connor

Younger, James Biagioni, Henry Lunn, Paul Sutton, and Matthew Rhys Thompson.

Mish II, 648 F.Supp.3d at 995–96.




1 Bracketed numbers refer to entries on the district court docket. Referenced page numbers

are taken from the CM/ECF header placed at the top of filings, except in the case of citations
to transcripts, which use the transcript’s original page number. When a document has
numbered paragraphs, I cite to the paragraph.
2 All timestamps refer to U.S. Central Time.



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      B.     Alleged Scheme

      The buyer of a futures contract holds a “long” position, and the seller holds a

“short” position. Mish II, 648 F.Supp.3d at 986. WTI crude oil futures contracts are

traded on the Chicago Mercantile Exchange Globex and ClearPort trading platforms.

Mish I, 596 F.Supp.3d at 1085. The New York Mercantile Exchange offers WTI

futures contracts via physical settlement whereas the Intercontinental Exchange

offers the same WTI futures contracts via cash settlement. [129] ¶¶ 196–98.

Intercontinental Exchange WTI futures contract prices mirror the NYMEX WTI

settlement prices. [129] ¶ 198. All trading defendants bought and sold NYMEX May

2020 contracts through the CME Globex platform. [129] ¶ 18. Some of the trading

defendants also bought and sold Intercontinental Exchange May 2020 contracts.

Mish I, 596 F.Supp.3d at 1086.

      Physical settlement means the buyers holding a “long” position on the specified

delivery date must pay for and receive physical delivery of crude oil. Mish II, 648

F.Supp.3d at 986. Likewise, a seller holding a “short” position receives payment and

must physically deliver the oil. Id. Physical delivery is made at storage facilities in or

around Cushing, Oklahoma. [129] ¶ 79. The delivery date for NYMEX May 2020 WTI

futures contracts was on April 21, 2020. Mish II, F.Supp.3d at 986.

      A “Trade at Settlement” order allows a trader to buy or sell a futures contract

at the daily settlement price determined at the end of a trading day between 1:28

p.m. and 1:30 p.m. Central Time. Mish II, 648 F.Supp.3d at 987. By exerting

downward pressure on May Contract prices throughout the course of the day,

defendants allegedly profited from buying May Contracts at an artificially low
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settlement price via Trade at Settlement on April 20. Id. They profited to the tune of

$632,814,390. Id. Prices went negative for the first time in history on April 20,

meaning that traders who were selling contracts would have to pay buyers to accept

physical delivery of crude oil. Id.

       Plaintiff’s remaining claims allege: a conspiracy to fix prices in violation of

Section 1 of the Sherman Act; price manipulation in violation of Section 9(a)(2) of the

CEA; use of a manipulative device in violation of Section 6(c)(1) of the CEA and the

CFTC’s regulations; aiding and abetting under Section 13 of the CEA; and a state-

law claim for unjust enrichment. Mish II, 648 F.Supp.3d at 995–96.

III.   Analysis

       Under Rule 23(a), a plaintiff must satisfy four prerequisites: (1) numerosity;

(2) commonality; (3) typicality; and (4) adequate representation. Fed. R. Civ. P. 23(a).

After meeting this threshold, a plaintiff must “satisfy through evidentiary proof” at

least one of the Rule 23(b) prongs. Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013).

Mish seeks to certify a class under Rule 23(b)(3), which requires that “questions of

law or fact common to class members predominate over any questions affecting only

individual members, and that a class action is superior to other available methods for

fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3); [311] at

12. In addition to Rule 23’s explicit requirements, class definitions must be

ascertainable. Mullins v. Direct Digital, LLC, 795 F.3d 654, 657 (7th Cir. 2015). A

class definition cannot be “too vague or subjective” or “defined in terms of success on

the merits (so-called ‘fail-safe’ classes).” Id.



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       A.     Proposed Class Definition

       Mish seeks to certify a class of:

       All persons and entities that sold a May 2020 light sweet crude oil (WTI)
       futures contract (“May contract”) traded on the New York Mercantile Exchange
       between 9:00 a.m. CST and 1:30 p.m. CST (inclusive) on April 20, 2020
       (including by trade at settlement (“TAS”)), to liquidate a long position in the
       May contract.

[311] at 12. The proposed class excludes, “Defendants, their officers, directors,

management, employees, subsidiaries, or affiliates and federal governmental

entities.” [311] at 12.

       A class is clearly defined if it identifies “a particular group, harmed during a

particular time frame, in a particular location, in a particular way.” Mullins, 795 F.3d

at 660. The proposed class definition identifies a particular group (traders who sold

a WTI crude oil futures contract), harmed in a particular way (selling contracts to

liquidate a long position at an artificially depressed price), in a particular location

(the New York Mercantile Exchange), during a particular time (from 9:00 a.m. to 1:30

p.m. on April 20). [311] at 21. The class is based on objective criteria, here, trading

conduct. See Mullins, 795 F.3d at 660 (a class defined in terms of conduct rather than

a state of mind generally avoids the subjectivity problem). Class membership does

not depend on defendants’ liability. See id. The class definition is ascertainable.

       B.     Numerosity

       The proposed class must be too numerous for practicable joinder. Fed. R. Civ.

P. 23(a)(1). A plaintiff need not identify the exact number of class members, Anderson

v. Weinert Enters., Inc., 986 F.3d 773, 778 (7th Cir. 2021), but they cannot rely on

“mere speculation or conclusory allegations as to the size of the putative class to prove

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that joinder is impractical for numerosity purposes.” Arreola v. Godinez, 546 F.3d

788, 797 (7th Cir. 2008) (internal quotation marks omitted). A forty-member class is

typically sufficient to satisfy the numerosity requirement. Orr v. Shicker, 953 F.3d

490, 498 (7th Cir. 2020). The key numerosity inquiry is “not the number of class

members alone but the practicability of joinder.” Anderson, 986 F.3d at 777. That

inquiry depends on “the nature of the action, the size of the individual claims, and

the location of the members of the class or the property that is the subject matter of

the dispute.” Id.

      Mish points to CME audit trail data for April 20 that reflects “approximately

1,138 unique account numbers that sold a May contract to liquidate a long position.”

[311] at 22. Mish acknowledges that an individual class member could have traded

through multiple accounts but asserts that it is likely that others traded through a

single account. Though Mish does not offer a basis for that likelihood, it points to

other evidence to support numerosity: (1) a CFTC report identifying 173 distinct

trader IDs holding “reportable positions” in the May 2020 contract and (2) CME data

showing that large traders in the NYMEX WTI crude oil futures contract are

geographically distributed across 35 states and 47 different countries. [311] at 22;

[390] at 27; [356-34] at 21 (CFTC November 2020 Report).

      Defendants suggest in a footnote that plaintiff “may not even meet the

numerosity requirement” because defendants’ expert identified only 11 other

accounts who traded like Mish, i.e., accounts that bought non-TAS contracts at

positive prices and sold an equal number of contracts after prices went negative but



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before 1:24 p.m. [352] at 12, 51 n.30. That suggestion rests on their argument that

“TAS sellers” (who sold via “Trade at Settlement” and were locked into the settlement

price on April 20) should be distinguished from “non-TAS sellers” like Mish (who sold

outright at the price at time of sale). [352] at 37; [129] ¶¶ 88–90. That’s not a factual

dispute about the number of potential class members who may have traded through

multiple accounts and are therefore overcounted in the 1,138 estimate. Plaintiff’s

figure may overestimate class size, but the CFTC report suggests that a proposed

class would exceed at least 173 traders. That’s sufficient. The remote nature of

futures trading and the geographic dispersion of traders further support a finding

that joinder would be impractical. Compare [129] ¶ 29 (Mish traded from California),

with ¶¶ 42–58 (the Vega defendants traded from the United Kingdom); 7A Charles

Alan Wright & Arthur R. Miller, Fed. Prac. & Proc. § 1762 (4th ed.) (“When the court

finds that the class members are widely dispersed geographically, then their joinder

may be deemed impracticable.”). Numerosity is satisfied.

       C.     Typicality and Adequacy

       A class representative’s claims and defenses must be “typical of the claims or

defenses of the class.” Fed. R. Civ. P. 23(a)(3). “A plaintiff’s claim is typical if it arises

from the same event or practice or course of conduct that gives rise to the claims of

other class members and [is] based on the same legal theory.” Lacy v. Cook Cnty.,

Illinois, 897 F.3d 847, 866 (7th Cir. 2018) (internal quotation marks omitted).

“Typicality under Rule 23(a)(3) should be determined with reference to the

[defendant’s] actions, not with respect to particularized defenses it might have



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against certain class members.” Wagner v. NutraSweet Co., 95 F.3d 527, 534 (7th Cir.

1996).

         Typicality often “merges with the further requirement that the class

representative ‘will fairly and adequately protect the interests of the class.’” CE

Design Ltd. v. King Architectural Metals, Inc., 637 F.3d 721, 724 (7th Cir. 2011)

(quoting Fed. R. Civ. P. 23(a)(4)). A class representative should “have the same

interest and injury as other [class] members.” Santiago v. City of Chicago, 19 F.4th

1010, 1018 (7th Cir. 2021) (citation omitted). “Conflicts of interest… create an issue

of adequacy of representation by requiring the class representative to choose between

competing class members.” Id. (quoting Johnson v. Meriter Health Servs. Emp. Ret.

Plan, 702 F.3d 364, 372 (7th Cir. 2012)). A class representative may be an inadequate

representative if their claim is subject to a unique defense. CE Design, 637 F.3d at

725. “The fear is that the named plaintiff will become distracted by the presence of a

possible defense applicable only to him so that the representation of the rest of the

class will suffer.” Id. at 726.

         The same conduct underlying Mish’s claims supports the class’s claims: an

alleged scheme to coordinate sales on April 20 and drive down prices of the May

Contract, trading patterns on that day, communications between the trading

defendants during and shortly after the class period, and actions taken or not taken

by Vega Capital and Adrian Spires. See Mish II, 596 F.Supp.3d at 1086–90. Mish’s

theory of liability and injury under the Sherman Act and Commodity Exchange Act

are also shared with the class: the scheme artificially depressed the May Contract



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price, so anybody who sold a May Contract at depressed prices was injured. See Kohen

v. Pac. Inv. Mgmt. Co. LLC, 244 F.R.D. 469, 477 (N.D. Ill. 2007), aff’d, 571 F.3d 672

(7th Cir. 2009) (“All class members purchased the same futures contract within the

class period, and, thus, all members were affected by defendants’ same course of

conduct and alleged price manipulation.”).

      Defendants argue that Mish’s claims are atypical of: (1) claims by class

members who sold via Trade at Settlement and (2) claims arising from the last six

minutes of the class period. [352] at 31–34.

      The parties use “contract” and “order” interchangeably, but Trade at

Settlement refers to an order type where a trader buys or sells a contract at the daily

settlement price; it is not a different type of futures contract altogether. [129] ¶¶ 86–

87;        [352]          at        10;         CME            Group,          Glossary,

https://www.cmegroup.com/education/glossary.html#T             [https://perma.cc/6PYD-

72AK] (“TAS is an order type that specifies the day’s settlement price as the order

price.”). Mish sold the same May futures contract for WTI crude oil that other

proposed class members sold. [129] ¶ 29. Under plaintiff’s theory, artificially

depressed May Contract prices harmed TAS and non-TAS traders alike even if the

degree of that harm, or “price impact,” may vary. Class members who sold via Trade

at Settlement were locked into the settlement price on April 20 (negative $37.63 per

barrel) whereas non-TAS sellers sold at the price at the time of the transaction

(negative $7.09 and $7.10 per barrel for Mish). See [129] ¶ 199; [312-16] at 137:19–

138:10. Factual differences in class members’ specific transactions such as order type



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and time of sale may affect potential recovery, but those differences do not preclude

class certification. See Rosario v. Livaditis, 963 F.2d 1013, 1017 (7th Cir. 1992)

(explaining that “some factual variation among the class grievances will not defeat a

class action” because a “common nucleus of operative fact” is typically sufficient to

satisfy commonality).

      That’s not to say the difference in TAS and non-TAS orders is irrelevant to

plaintiff’s theory of the case, only that the difference is of no consequence for purposes

of determining typicality and adequacy. Plaintiff’s expert opines that asymmetric

price impacts make manipulation profitable. [386-2] ¶ 77 (“[I]f TAS purchases drove

up prices by as much as equivalent volume of outright and spread sales drove down

prices, manipulation would be unprofitable.”), ¶ 100 (fewer informed trades in the

TAS market than the outright market means trades have a smaller price impact in

the TAS market). The difference in TAS and non-TAS orders helps explain plaintiff’s

theory of manipulation, but the theory itself is common to all claims.

      Defendants assert that the trading defendants were merely “conduits for TAS

sellers,” and if they “had not bought TAS, those sellers would have had to sell in the

non-TAS market, potentially driving prices even lower.” [352] at 34 (citing [356-1]

¶¶ 120–26 (Hendershott report)). Defendants may argue on the merits that price

depression is better explained by forces other than market manipulation or that their

trading conduct actually mitigated price depression by supplying liquidity to the

market, but that doesn’t affect the typicality analysis. The course of conduct and

theories underpinning plaintiff’s claims are typical to those of the class.



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         Defendants next argue that Mish would be an inadequate class representative

because it would lack the incentive to vigorously litigate the circumstances of the last

six minutes of the class period, a “flash crash.” [352] at 35. Mish sold ten May

Contracts at 1:16 p.m. to liquidate its long position. [312-16] at 137:19–138:10.

Because Mish “could prevail on its claim without any evidence of price artificiality

after 1:24 p.m.,” defendants assert that Mish would not have to rely on its expert’s

“flash crash” opinion (which would be central to the claims of absent class members

who sold May Contracts between 1:24 p.m. and 1:30 p.m.). [352] at 32–33. Defendants

say this difference is substantial because the expert’s damages calculation attributes

97% of total loss to sales of May Contracts occurring in the last six minutes of the

class period. [352] at 33 (including non-TAS orders sold during the last six minutes

and TAS orders sold at the settlement price determined between 1:28 p.m. and 1:30

p.m.).

         In Kohen v. Pacific Investment Management Co. LLC, 571 F.3d 672, 679–80

(7th Cir. 2009), the court recognized that potential conflicts of interest could arise

where class members purchased futures contracts at different times during a seven-

week class period. The plaintiffs alleged that defendant PIMCO “cornered” the

market by purchasing large quantities of June Contracts in 10-year U.S. Treasury

notes. Kohen, 571 F.3d at 675–76. Because the contracts required physical delivery

of U.S. Treasury notes, short sellers who did not want to pay the monopoly price to

close out their contracts executed offsetting futures contracts instead. Id. The

plaintiffs lost money by purchasing offsetting contracts at a monopoly price (driven



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by PIMCO’s increased share of the market) rather than at a competitive price. Id. at

676. The court acknowledged that price fluctuations during the class period might

engender conflict in proving price artificiality:

      Class members covered by buying the June Contract, thus capping their losses,
      at different times during the seven-week period embraced by the complaint.
      One who covered very early would want to show that the effect of PIMCO’s
      alleged misconduct peaked then. Moreover, the curve of rising prices for the
      June Contract dipped at one point during the complaint period and class
      members who covered during the dip might want to show that PIMCO’s effect
      on the price level was completed by then and the post-dip rise in prices was
      due to market forces for which PIMCO was not responsible.

Id. at 679–80. Such a conflict, however, was hypothetical at the class-certification

stage. Id. at 680. Even if such conflicts arose at a later stage, a district court could

certify subclasses to address those conflicts. Id. But denying class certification

“because of a potential conflict of interest that may not become actual, would be

premature.” Id.

      Potential conflicts between class members who sold May Contracts before 1:24

p.m. and those who sold between 1:24 p.m. and 1:30 p.m. are not concrete at this

stage. See Johnson, 702 F.3d at 372 (suggesting a conflict may no longer hypothetical

if a class member expresses concern of harm with pursuing a certain method of proof).

Defendants’ argument rests in part on a mischaracterization of the expert’s analysis

of the last six minutes of the class period. His TVP-VAR model estimates price impact

based on net order flow data through 1:30 p.m. See [386-1] ¶ 31(e). But the expert

found that order flow, standing alone, has little impact on prices during that time

period. [386-1] ¶ 412. His “flash crash” opinion is not separate from that analysis; he

opines that order flow patterns prior to 1:24 p.m. “create the conditions in which


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Flash Crashes occur.” [386-1] ¶ 31(h). The label the expert puts on the last six

minutes doesn’t change the nature of the data he is using to support his conclusion.

See [386-1] ¶ 407 (conceding that whether the post-1:24 period is a “flash crash” or a

“crash” is a matter of semantics). The expert is not relying on different trading data

for different class members by analyzing the specific dynamics of the last six minutes.

In the commodities-manipulation context, trading patterns and transaction volume

directly preceding the settlement window can be probative of manipulation.

Important here is that Mish shares a common interest with class members in proving

that defendants’ trading conduct was sustained throughout the class period and that

it steadily escalated over time. See [129] ¶ 2(a) (alleging defendants’ aggressive sales

throughout the day exerted “cumulative net selling pressure” on the price of the May

Contract); cf. Blackie v. Barrack, 524 F.2d 891, 909–10 (9th Cir. 1975) (explaining

that it would be in each class members’ interest to “maximize the inflation” caused

by defendant’s misrepresentations at “every point in the class period” both to

establish liability and to maximize damages because “the more the stock is inflated,

the more every class member stands to recover”). That’s unlike the situation in Kohen

where prices dipped and recovered during the class period. Hypothetical conflicts

between class members who sold May Contracts before 1:24 p.m. and those who sold

during the last six minutes of the class period do not preclude class certification.

      Defendants also argue that Mish is subject to a unique defense because it

cannot prove proximate cause under the Sherman Act or Commodity Exchange Act.

[352] at 36. Robert Mish testified that he purchased ten May Contracts at 12:42 p.m.



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for a price of $2.15 per barrel because he believed it had “limited risk.” [312-16] at

191:9–12, 196:8–10. Defendants contend that Mish should have known that prices

could go negative that day, so any alleged manipulation would not be the proximate

cause of Mish’s losses. [352] at 36. They also suggest that in a but-for world where

prices still went negative absent the defendants’ trading conduct, Mish could have

suffered greater losses if prices had gone below zero later in the day and forced it to

liquidate its long position closer to the settlement window. [352] at 37. Robert Mish

maintains that he would have purchased the May Contracts even if he had known

about the possibility of prices trading below zero, and more importantly, plaintiff’s

claims do not require proving defendants’ trading caused the prices to trade below

zero. [390] at 36.

         Robert Mish’s knowledge or lack thereof is beside the point. Plaintiff alleges

defendants’ trading conduct “injected false information into the market regarding the

May contract, thus creating a false value and sending a signal of false value for the

May contract.” Mish I, 596 F.Supp.3d at 1097–98 (applying the same reasoning under

Section 9(a) and Section 6(c)(1) of the CEA). That doesn’t require plaintiff to identify

a specific misrepresentation, only that defendants’ trading conduct created an

artificial price. 3 See Frey v. Commodity Futures Trading Comm’n, 931 F.2d 1171,

1175 (7th Cir. 1991) (“Manipulation, broadly stated, is an intentional exaction of a


3 Market manipulation cases are therefore distinguishable from the consumer fraud and
product liability cases that defendants cite to. See [352] at 37 n.21 (citing Sherwin v. Samsung
Elecs. Am., Inc., No. 16 C 7535, 2019 WL 10854535, at *3 (N.D. Ill. Dec. 18, 2019) (finding
proposed class representative to be inadequate because her potential knowledge of the
alleged defect before purchasing the product would be a defense to the proximate cause
element of a consumer-fraud claim)).

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price determined by forces other than supply and demand.”); ATSI Commc’ns, Inc. v.

Shaar Fund, Ltd., 493 F.3d 87, 100 (2d Cir. 2007) (“The deception arises from the fact

that investors are misled to believe ‘that prices at which they purchase and sell

securities are determined by the natural interplay of supply and demand, not rigged

by manipulators.’”) (citation omitted); Ploss v. Kraft Foods Grp., Inc., 431 F.Supp.3d

1003, 1013 (N.D. Ill. 2020), perm. app. denied, No. 20-8001 (7th Cir. Feb. 21, 2020)

(“[I]n a commodities-manipulation case, the fraud on the market theory assumes that

buyers and sellers rely on public misstatements whenever the investor buys or sells

futures contracts at the price set by the market because the market transmits

information to the participants in the form of the market price.”). If Mish establishes

that defendants’ scheme created an artificial price, then any losses from selling at

that artificial price would be proximately caused by defendants’ manipulation. Mish’s

claim will succeed or fail on the same grounds as other class members. See Hardy v.

City Optical Inc., 39 F.3d 765, 770 (7th Cir. 1994) (unique defense bars class

certification if “plaintiff’s claim is quite likely to be dismissed even if the other class

members’ claims are meritorious”).

      “Critically,” defendants say, “Mish’s situation is unique and unlike those of…

TAS sellers, who were stuck with whatever the settlement price turned out to be, or

even the non-TAS sellers, who may have delayed liquidating until the settlement in

the vain hope that prices might rise.” [352] at 37. Again, the timing and price of a sale

will vary among class members, and so too will the magnitude of loss. That will affect




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individual damages, but it doesn’t undermine Mish’s adequacy as a class

representative. 4

       Defendants do not challenge the adequacy of class counsel, [352] at 34–38, but

I have an independent duty to ensure Rule 23(a)’s requirements are satisfied to

“protect[] absent class members whose rights may be affected by the class

certification.” Davis v. Hutchins, 321 F.3d 641, 649 (7th Cir. 2003). To determine

whether class counsel is adequate, I consider the work they’ve done in identifying or

investigating potential claims in the case; their experience in handling class actions,

other complex litigation, and the types of claims asserted in the case; their knowledge

of the applicable law; the resources they’ll commit to representing the class; and

anything else that’s relevant to their ability to fairly and adequately represent the

class. Fed. R. Civ. P. 23(g)(1)(A)–(B). Plaintiff’s counsel investigated the claims to

bring this lawsuit, filed amended complaints, conducted discovery, and expended

resources to engage expert witnesses. [311] at 28. Both firms have decades of

experience litigating complex class actions involving price-fixing and commodities

manipulation claims under the Sherman Act and the CEA. See [348-2] at 5–7 (Lovell

Stewart); [348-3] at 6–8 (Miller Law). Proposed class counsel is adequate to represent

the putative class.




4 Defendants also allude to an arbitration provision under NYMEX Rule 600.A.1 to suggest

an individual contract defense against Mish. See [352] at 50 n.29; [361] (letter requesting
plaintiff to arbitrate its claims). I discuss the possibility of mandatory arbitration in the
context of superiority. See below III.E.

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         D.    Commonality and Predominance

         Class certification is only appropriate if “there are questions of law or fact

common to the class.” Fed. R. Civ. P. 23(a)(2). “[E]ven a single common question will

do.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 359 (2011) (cleaned up). “The key

to commonality is ‘not the raising of common questions . . . but, rather, the capacity

of a class-wide proceeding to generate common answers apt to drive the resolution of

the litigation.’” Orr, 953 F.3d at 498–99 (quoting Wal-Mart v. Dukes, 564 U.S. at 350).

“Dissimilarities within the proposed class are what have the potential to impede the

generation of common answers.” Id. at 499.

         For certification under Rule 23(b)(3), these common questions must

predominate over individual questions. Fed. R. Civ. P. 23(b)(3). The predominance

inquiry focuses on whether a proposed class is “sufficiently cohesive to warrant

adjudication by representation.” Gorss Motels, Inc. v. Brigadoon Fitness, Inc., 29

F.4th 839, 843 (7th Cir. 2022) (quoting Tyson Foods, Inc. v. Bouaphakeo, 577 U.S.

442, 453 (2016)). Scrutiny should be given to “the relation between common and

individual questions in a case.” Tyson Foods, 577 U.S. at 453. Evaluating

predominance “requires more than a tally of common questions,” I must also weigh

their “relative importance.” Eddlemon v. Bradley Univ., 65 F.4th 335, 339 (7th Cir.

2023).

         The predominance analysis turns on the elements of the underlying causes of

action. See Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804, 809 (2011).

Plaintiff brings two central claims: price-fixing under Section 1 of the Sherman Act

and manipulation under the Commodity Exchange Act (price-manipulation under
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Section 9(a)(2) and use of a manipulative device under Section 6(c)(1)). 5 To prove

price-fixing under the Sherman Act, plaintiff must establish: (1) an agreement

between defendants; (2) that unreasonably restrained trade in the relevant market;

and (3) injury. In re Dairy Farmers of Am., Inc. Cheese Antitrust Litig., 801 F.3d 758,

762 (7th Cir. 2015). To prove manipulation under the CEA, plaintiff must establish

that: (1) defendants possessed the ability to influence prices; (2) an artificial price

existed; (3) defendants caused the artificial price; and (4) defendants specifically

intended to cause the artificial price. Id. at 764–65.

       Mish identifies four common questions across these claims: (1) whether

defendants engaged in a conspiracy to restrain trade or to manipulate May Contract

prices; (2) whether defendants intended to manipulate May Contract prices; (3)

whether defendants had the ability to manipulate May Contract prices; and (4)

whether May Contract prices on April 20 were artificially depressed. 6 [311] at 23;

[390] at 39.



5 Plaintiff also brings an aiding and abetting claim under Section 13 of the CEA and an unjust

enrichment claim, both of which require plaintiff to prove an underlying substantive
violation. See In re Dairy Farmers, 801 F.3d at 765, and Cleary v. Philip Morris Inc., 656 F.3d
511, 516 (7th Cir. 2011).
6 Mish states that another common question is “whether the Fifth Amendment privilege

assertions by the [trading defendants] and their refusals to produce documents and answer
substantive questions at deposition entitle [Mish] to adverse inferences.” [311] at 23. “The
general rule is that an adverse inference may be drawn from such a refusal in a civil case.”
In re High Fructose Corn Syrup Antitrust Litig., 295 F.3d 651, 663 (7th Cir. 2002). Whether
an adverse inference is appropriate—and against whom it may be drawn—are evidentiary
issues resolved at summary judgment or at trial. See [359] (Vega & Spires supplemental
brief) (arguing that an adverse inference should not be drawn against Vega and Spires, who
did not assert the privilege and responded fully to discovery requests); see LaSalle Bank Lake
View v. Seguban, 54 F.3d 387, 391 (7th Cir. 1995) (explaining that an admission from an
adverse inference “does not lead directly and without more to the entry of summary


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       Defendants primarily contest plaintiff’s method to prove classwide “price

impact” and calculate damages. [352] at 38, 40–47. The former goes to causation, and

it’s the core of the parties’ dispute. See Newton v. Merrill Lynch, Pierce, Fenner &

Smith, Inc., 259 F.3d 154, 188 (3d Cir. 2001) (“Proof of injury (whether or not an

injury occurred at all) must be distinguished from calculation of damages (which

determines the actual value of the injury).”); see also Greater Rockford Energy & Tech.

Corp. v. Shell Oil Co., 998 F.2d 391, 401 (7th Cir. 1993) (“The proof required to show

causation of damages is greater than that required to prove the amount of damages,

where a plaintiff is afforded more latitude due to the ‘vagaries of the marketplace.’”)

(emphasis in original).

       Because defendants move to exclude plaintiff’s expert testimony, I must rule

conclusively on portions of the challenged testimony that are critical to the class-

certification decision. See Messner, 669 F.3d at 812 (an expert opinion is “critical” if

it is “important to an issue decisive for the motion for class certification”).

       Mish offers Dr. Craig Pirrong’s testimony in support of its motion for class

certification. Pirrong is a professor of finance at the University of Houston where he

also serves as the Director of the Gutierrez Energy Management Institute. [386-2]


judgment, but merely establishes the factual basis from which the Rule 56 analysis will
proceed”) (emphasis omitted). The individual defendants’ refusal to testify may be relevant
when determining liability against the factual record, but it does not present common
questions for purposes of class certification. It’s also unnecessary to draw adverse inferences
at this stage because defendants do not dispute there is common evidence of conspiracy,
though they dispute whether such evidence establishes liability. But see In re Ready-Mixed
Concrete Antitrust Litig., 261 F.R.D. 154, 172 n.19 (S.D. Ind. 2009) (finding that defendants’
refusal to testify as to certain aspects of the conspiracy gave rise to a negative inference as to
the existence and impact of the conspiracy that supported plaintiffs’ showing of antitrust
impact).

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¶ 1. He has a PhD in Economics and has taught courses in industrial organization,

economics, and finance for over 35 years. [386-2] ¶ 1. Pirrong wrote a book on the

economics of futures trading titled The Economics, Law, and Public Policy of Market

Power Manipulation. [386-2] ¶ 2. He also works as a consultant for agencies,

derivatives exchanges, trading firms, and other entities on the topic of futures

contract trading and manipulation. [386-2] ¶ 3.

      Pirrong opines that defendants caused the price depression observed on April

20 and presents methods to measure how much of that price artificiality can be

attributed to defendants. He presents three categories in his initial report: (1) an

analysis of defendants’ trading conduct compared to other market participants to

determine whether defendants’ conduct depressed prices of May Contracts on April

20; (2) a model to estimate the price depression attributable to defendants’ orders;

and (3) an analysis of the last six minutes of the class period (which he opines was a

“flash crash”) and a method to estimate the further depression of May Contract prices

attributable to defendants. See [386-2] ¶¶ 6–10.

      Market microstructure is a branch of financial economics that studies the price

impact of trades and orders. [386-2] ¶ 78. Transactions and orders impact prices

because of inventory costs and informational considerations (adverse selection). [386-

2] ¶ 80. Information moves prices. [386-2] ¶ 75. In an efficient market, prices reflect

the arrival of new information. [386-2] ¶ 93. Public information, like an exchange’s

alert at 12:06 p.m. warning that oil prices could go negative, is one such source of

information. [386-2] ¶¶ 84, 207. Adverse selection costs arise when some market



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participants hold private information about the value of a particular futures contract.

[386-2] ¶ 84. Because trading results from private information, purchases and sales

signal information to less-informed traders, thereby affecting prices. [386-2] ¶¶ 84,

92–93.

      Pirrong began by analyzing trading data from April 20 and comparing

defendants’ trading conduct with other market participants to determine whether

defendants’ transactions in the May Contract affected prices. [386-2] ¶ 8. He did so

by comparing defendants’ “aggressor sales” of May Contracts with defendants’

“aggressor purchases” via Trade-at Settlement. [386-2] ¶ 13(b). An “aggressive” order

refers to a bid or sell order that matches the price in the market and results in an

immediate execution. [386-2] ¶ 64. A “passive” order, on the other hand, does not

result in immediate execution. [386-2] ¶ 64. Passive orders supply liquidity to the

market. [386-2] ¶ 65. Liquidity refers to the ability to buy or sell without significantly

impacting the price. [386-2] ¶ 65. Aggressive sales cause prices to fall, and aggressive

purchases cause prices to rise. [386-2] ¶ 272. Generally, bigger transactions have

bigger price impacts. [386-2] ¶ 272. Net order flow is the difference between

aggressive buy and sell orders submitted during a specific time interval. [386-2] ¶ 75.

Privately informed trading is one determinant of net order flow, so net order flow is

informative, and in turn, order flow imbalances can affect prices. [386-2] ¶¶ 75, 207.

      Next, Pirrong employed a Time Varying Parameter Vector Autoregression

model to determine how much defendants’ sales of May Contracts caused the price

decline, in other words, how much price artificiality can be attributed to defendants’



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allegedly manipulative trading. [386-2] ¶ 163. A vector autoregression model

measures how trades move prices, accounting for the possibility that price

movements also cause trades. [386-2] ¶ 164. The model estimates the dynamic

relationship between a set of variables (relevant here, prices and signed trades). [386-

2] ¶ 166. A standard VAR model assumes that all coefficients in the model and the

variance-covariance matrix of the error terms are constant during the estimation

period. [386-2] ¶ 174. That assumption means the VAR approach does not account for

intra-day variations in price impact. [386-2] ¶ 174.

      Given the price volatility on April 20 and uncertain economic conditions during

the COVID-19 pandemic, Pirrong acknowledges that market uncertainty could have

affected intra-day changes in price impacts. [386-2] ¶ 175. He explains that:

      [P]ersistent order imbalances (like those experienced on April 20, 2020) can
      lead market participants to revise their estimation of the likelihood that orders
      are informed, which in turn alters price impacts. Since the [trading
      defendants] were major contributors to these order imbalances, and hence
      could have altered price impacts, an analysis of their effect on prices should
      allow for the possibility of time variation in price impacts. The market
      microstructure theory implies that price impact is likely to change because of
      the conditions that prevailed on April 20, 2020. Specifically, price impacts
      change due to persistent order imbalances: prices are more sensitive to
      aggressive sales after a period of persistent sell order imbalances than they
      would be without such an extended period of order imbalances.

[386-2] ¶ 175. Pirrong concludes that a VAR model that “allows for intra-day

variation in price impacts, price volatilities, and price correlations” is necessary in

this case. [386-2] ¶ 180. He adopts the Time Varying Parameter VAR model with

stochastic volatility: model coefficients vary randomly over time, fluctuate randomly,

and differ for every interval, and variances and covariances of the error terms also

vary randomly over time. [386-2] ¶¶ 181, 186. Pirrong estimates a TVP-VAR model
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for the entire class period (9:00 a.m. to 1:30 p.m.) divided into 15-second intervals.

[386-2] ¶¶ 191–92. The model includes six variables with three lags: (1) the change

in the May midpoint over the 15 second interval; (2) the change in the May-June

spread midpoint over the 15 second interval; (3) the change in the June price over the

15 second interval; (4) the May order imbalance in the 15 second interval; (5) the

May-June spread order imbalance in the 15 second interval; and (6) the June order

imbalance in the 15 second interval. [386-2] ¶ 193. Impact of trades are represented

through an impulse response function, which estimates “how a random shock to a

given variable impacts all variables in the system.” [386-2] ¶ 196. The crux of the

model is to isolate price variations caused by order flow. [386-2] ¶¶ 197–205, 334.

Price variations that are not explained by order flow are attributed to public, non-

trade-related information. [386-2] ¶ 207.

      The final section of Pirrong’s report analyzes the last six minutes of the class

period, which he characterizes as a “flash crash.” [386-2] ¶¶ 10, 208–21, 233–59.

Pirrong observes that the last six minutes of the class period were characterized by

extreme volatility followed by a sharp price reversal. See [386-2] ¶¶ 26. Based on the

theory that severe order flow imbalance can cause a “flash crash,” Pirrong analyzed

how much defendants’ orders contributed to the order flow toxicity (defined as large

and persistent order flow imbalances in one direction) through a Volume-

Synchronized Probability of Informed Trading method. [386-2] ¶¶ 119, 204. He found

that order flow toxicity rose and peaked shortly before the price collapse. [386-2]

¶¶ 238–42. He opines that defendants were the primary cause of the increase in order



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flow toxicity, and therefore, contributed to the price decline during the last six

minutes. [386-2] ¶ 256. In short, Pirrong analyzes the last six minutes of the class

period to conclude that price declines—even during the volatile period—can be

attributed to defendants’ trade orders rather than external supply-and-demand

forces. [386-2] ¶ 381. “[T]he post-1:24 p.m. price movements are instead best

understood as ‘endogenous volatility’ characteristic of a flash crash. Such crashes

occur because of the trading process itself, rather than as the direct result of the

arrival of public information related to supply-demand fundamentals.” [386-2] ¶ 381.

      In rebuttal to defendants’ expert, Terrence Hendershott, [356-1], Pirrong

offers: (1) an event study comparing prices of May WTI crude oil futures contracts to

other commodities that the CME alerted could potentially trade at negative prices on

April 8, 2020; (2) analysis of storage constraints at Cushing related to supply-and-

demand factors to rebut Hendershott’s “predominant view” that storage capacity

caused the price declines; (3) responses to criticisms of his TVP-VAR model; (4)

clarification of his “flash crash” opinion; and (5) responses to Hendershott’s

characterization of trading defendants as legitimate speculators based on trading

patterns and market factors. [386-1] ¶¶ 22–44.

      Defendants seek to exclude four categories of Pirrong’s testimony under

Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals, Inc., 509

U.S. 579 (1993): (1) analysis of storage capacity at Cushing that could explain price

declines on April 20; (2) analysis of trading conduct that “ignores the obvious

profitability of buying TAS contracts and selling non-TAS contracts ‘aggressively’ on



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a day where prices were widely expected to fall”; (3) reliability of the TVP-VAR model

to estimate price impact; and (4) the “flash crash” opinion analyzing the last six

minutes of the class period. [355] at 9–11. 7 Though defendants draw attention to

Pirrong’s previous engagements with class counsel, [355] at 11–14, his qualifications

to provide expert testimony and the relevance of his opinions are not in dispute. See

Cruz-Vazquez v. Mennonite Gen. Hosp., Inc., 613 F.3d 54, 59 (1st Cir. 2010)

(“Assessing the potential bias of an expert witness, as distinguished from his or her

specialized training or knowledge or the validity of the scientific underpinning for the

expert’s opinion, is a task that is ‘properly left to the jury.’”).

       Apart from the TVP-VAR model, Pirrong’s testimony is not critical to class

certification because plaintiff does not need his opinions to demonstrate that common

questions predominate over individual ones. See Schleicher v. Wendt, 618 F.3d 679,

685 (7th Cir. 2010) (“If something about ‘the merits’… shows that individual

questions predominate over common ones, then certification may be inappropriate.”).




7 Defendants also move to strike rebuttal reports by Pirrong, Dr. Talis Putnin, and Dr. Craig

Goodrich responding to defendants’ expert, Terrence Hendershott. [414]. The motion to
strike, [414], is denied. Pirrong’s rebuttal report offers new analyses, but only in response to
methodological criticisms raised by defendants’ expert. See [386-1]; see Peals v. Terre Haute
Police Dep’t, 535 F.3d 621, 630 (7th Cir. 2008) (“The proper function of rebuttal evidence is to
contradict, impeach or defuse the impact of evidence offered by an adverse party.”). Rebuttal
testimony from Putnin and Goodrich are not critical to class certification. At bottom, Putnin
and Goodrich affirm that Pirrong’s TVP-VAR model is generally accepted in their respective
fields and substantiate Pirrong’s model through replication. See [386-3] ¶¶ 15–24 (Putnin
rebuttal); [386-4] ¶¶ 14–18 (Goodrich rebuttal). Defendants’ request for leave to conduct
additional expert discovery in the alternative, [413] at 2, is denied as unnecessary. Discovery
was stayed pending the court’s class-certification ruling, [407], and defendants will have the
opportunity to conduct additional merits expert discovery. Cf. Beaton v. SpeedyPC Software,
907 F.3d 1018, 1023 (7th Cir. 2018) (no prejudice to defendant at class certification where
district court allowed additional merits discovery after its ruling).

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When issues affect market participants alike, for example, “whether statements were

false, or whether the effects were large enough to be material,” then digging into the

merits questions is inappropriate at the class-certification stage, even if the class is

likely to lose on those issues. See id. As discussed below, defendants’ objections to

Pirrong’s testimony largely implicate causation on the merits. But plaintiff is not

required to prove the elements of a conspiracy, manipulative intent, or price impact

at this stage. The question is whether Mish demonstrates common evidence and

methodology capable of proving the essential elements of its claims. See Messner, 669

F.3d at 818 (“The ability to use… common evidence and common methodology to

prove a class’s claims is sufficient to support a finding of predominance on the issue

of antitrust impact for certification under Rule 23(b)(3).”); Blades v. Monsanto Co.,

400 F.3d 562, 566 (8th Cir. 2005) (“The nature of the evidence that will suffice to

resolve a question determines whether the question is common or individual.”).

                i.    Existence of Scheme and Manipulative Conduct

         Mish identifies two key categories of evidence that support the existence of a

conspiracy and manipulative trading behavior (including the ability to influence

prices    and    manipulative   intent):   CME   data   of   buy-and-sell   orders   and

communications between the traders. See [129] ¶¶ 164–179.

         Based on the CME data, Pirrong found that the trading defendants sold 11,633

May Contracts in aggressor sales and purchased 82 May Contracts in aggressor




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purchases via Trade-at-Settlement. 8 [386-2] ¶ 13(b). Pirrong compared defendants’

trading volume with the rest of the market: 58% of defendants’ trading volume in

May-June spread orders was “extremely aggressive” compared to 9% for all other

traders; 73% of the defendants’ trading volume in May Contracts was “extremely

aggressive” compared to 14% for all other traders. [386-2] ¶ 13(b). He also found that

defendants ramped up the rate of their aggressor sales from 10:30 a.m. onwards,

increasing their share of aggressive sales to more than 63% from 1:08 p.m. to 1:30

p.m. [386-2] ¶ 21. Defendants’ sales of May Contracts represented 69% of the order

imbalance from 1:24 p.m. until settlement. [386-2] ¶ 22. Overall, Pirrong opines that

defendants’ increasing volume of aggressor sales had an “increasingly depressive

effect” on May Contract prices and “increasingly exacerbated the order imbalance.”

[386-2] ¶ 13(c).

       Defendants disagree with Pirrong’s classification of “aggressor” sales and

application of market microstructure theory to explain what made manipulation

possible and profitable, instead characterizing defendants’ trading patterns as wholly

consistent with basic speculation strategies (i.e., selling high and buying low based

on the possibility of negative pricing). [352] at 18; [355] at 26. Defendants’ expert, for

example, points out that defendants did not trade between 1:28 p.m. and 1:30 p.m., a

window which would have been a “hallmark” of manipulative trading behavior where




8 The CME Globex system identifies the “aggressive” and “passive” party when a marketable

order is submitted. [386-2] ¶ 74. That’s distinct from what Pirrong classifies as “extremely
aggressive trading” involving offers made below the best bid in quantities larger than the
depth at the best bid. See [386-2] ¶ 314.

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traders attempt to artificially inflate or depress prices close to the settlement window.

[352] at 19. Whether the trading data supports defendants’ theory of mere speculation

or plaintiff’s theory of manipulative trading strategy is a critical question, but it is

one that can be answered through common proof, through the trading data itself and

Pirrong’s analysis of the data. Because Mish can point to common evidence without

relying on Pirrong’s analysis of trading patterns, I need not rule on defendants’

Daubert challenges to those opinions. See [355] at 18, 26–29.

       Evidence of communication between the traders also serves as common

evidence to prove the existence of a conspiracy, “uneconomic” motive, or manipulative

intent. See Mish I, 596 F.Supp.3d at 1092–95, 96–98. The traders exchanged

messages during and shortly after the class period, [129] ¶¶ 166–79, 311:

       •   “Just keep selling it every 5 points”
       •   “I’ve got 300 left for late”
       •   “Fucking mental. I wanna see negative WTI”
       •   Lunn asked, “I’m short 160 spreads and 40 wti… Are you boys adding to
           this?” and Younger responded, “I’m short 1250 and 500 not doing anymore
           until late”
       •   Demetriou asked, “is everyone short ti front” and Paul Commins responded,
           “Yep but not loads”
       •   “We pushed each other so hard for years for this one moment… And we
           fucking blitzed it boys”
       •   “Please don’t tell anybody what happened today lads x”
       •   “Do not tel [sic] a fucking soul what’s happened”

GH Financial’s communications with Vega’s owner Adrian Spires after GH had

received alerts from its trade surveillance system also serves as class-wide evidence. 9


9 Defendants Vega and Adrian Spires assert that allegations about their failure to monitor

the individual traders amount to mere negligence. [359] at 21. That’s a merits issue that Vega
and Spires insist is appropriate for me to weigh at the class-certification stage. See [359] at
14 (“[T]he possibility of ruinous liability—combined with a highly doubtful claim—is a good


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See, e.g., [129] ¶ 182 (GH’s trade surveillance officer requesting responses about the

purpose and strategy behind trading defendants’ activities), ¶ 186 (Spires

responding, in part, that the traders “discuss their views on the market on a daily

basis despite now trading from separate locations”).

       Defendants accuse plaintiff of mischaracterizing statements by taking them

out of context; for example, by omitting part of Lunn’s statement, “You’ve got to think”

before “[e]veryone is going to have ammo” to obscure the speculative nature of the

comment. See [352] at 19 n.11. Competing inferences may be drawn from the full

record, but that’s a merits dispute that is capable of (and particularly amenable to)

class-wide resolution. See, e.g., Kleen Prods. LLC v. Georgia-Pac. LLC, 910 F.3d 927,

939 (7th Cir. 2018) (finding at summary judgment that “[plaintiffs’] noneconomic

evidence—even when viewed with the parallel conduct—does not exclude the

possibility that [defendant] acted in a self-interested but permissible way”). Here,

common evidence of trading conduct and contemporaneous communications between

traders, regardless of whether it reflects illegal manipulation or innocuous

speculation, suggests predominance. Cf. In re Urethane Antitrust Litig., 768 F.3d

1245, 1255 (10th Cir. 2014) (“In price-fixing cases, courts have regarded the existence


reason to deny certification of a class.”) (citing Matter of Rhone-Poulenc Rorer, Inc., 51 F.3d
1293 (7th Cir. 1995)). It is not. Rhone-Poulenc predates the adoption of Rule 23(f), which
permits interlocutory appeals of class-certification orders. See Fed. R. Civ. P. 23(f), advisory
committee’s notes on 1998 amendment. The incentive to settle unmeritorious claims first
articulated in Rhone-Poulenc and enshrined in Rule 23(f) justifies a court’s “peek” into the
merits to conduct a rigorous analysis, but it does not grant a court the “license to engage in
free-ranging merits inquiries.” See Simpson v. Dart, 23 F.4th 706, 711 (7th Cir. 2022) (quoting
Amgen, 568 U.S. at 466); Szabo v. Bridgeport Machines, Inc., 249 F.3d 672, 677 (7th Cir.
2001) (“A court may not say something like ‘let’s resolve the merits first and worry about the
class later.’”).

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of a conspiracy as the overriding issue even when the market involves diversity in

products, marketing, and prices.”); Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 625

(1997) (“Predominance is a test readily met in certain cases alleging consumer or

securities fraud or violations of the antitrust laws.”).

             ii.    Price Impact

      The parties agree that proving antitrust impact under the Sherman Act goes

hand-in-hand with proving price artificiality under the CEA. See [352] at 38, and

[311] at 33–34. Plaintiff relies on Pirrong’s price-impact model to establish causation

under the substantive causes of action. See [311] at 38–43.

      To succeed on the price-fixing and manipulation claims, Mish must

demonstrate a causal link between defendants’ trading conduct and the price

depression. See Mish I, 596 F.Supp.3d at 1091–92, 96 (“[A] price may be artificial if

it is higher than it would have been absent [defendants’] conduct.”) (citation omitted);

Greater Rockford, 998 F.2d at 401 (“An antitrust violation need not be the sole cause

of the alleged injuries, but the plaintiff must establish, with a fair degree of certainty,

that the violation was a material element of, and substantial factor in producing, the

injury.”). At the class-certification stage, however, the inquiry is not whether plaintiff

has proven that causal link, but “whether the class can point to common proof that

will establish antitrust injury… on a classwide basis.” Kleen Prods. LLC v. Int’l Paper

Co., 831 F.3d 919, 927 (7th Cir. 2016); Messner, 669 F.3d at 818 (emphasizing that

plaintiff’s burden is to “demonstrate that the element of antitrust impact is capable




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of proof at trial through evidence that is common to the class rather than individual

to its members”) (emphasis in original).

      Defendants and their expert present a competing view that physical storage

constraints better explain market volatility and price depression on April 20. [352] at

14–17; [355] at 22–26. Hendershott explains the “predominant view” shared by

“market participants, regulators, academics, and other informed observers” that

market conditions were the driving factor for the price depression, not alleged

manipulation by futures traders. [356-2] ¶ 12. Defendants Vega and Adrian Spires

separately belabor this point, citing press releases from Shell and BP to assert that

“the world’s major oil companies consistently explained that natural forces of supply

and demand were driving the price of the May WTI Contract.” [359] at 20 (Vega’s and

Spires’s supplemental brief). Note that a competing view is all that’s presented for

now. See [386-7] 338:16–18 (Hendershott disclaiming an “affirmative opinion that the

decline was caused by the storage situation”). Moreover, Mish doesn’t need an expert

to present the strict “but-for” analysis demanded by defendants to meet its burden at

this stage. “[A]n expert construction of a hypothetical market free of any

anticompetitive restraint, to which the actual market can be compared” is “one way

in which plaintiff could satisfy its burden [at class certification], but… that

formulation is too narrow.” See Kleen Prods., 831 F.3d at 927. If storage constraints

and contracting demand for crude oil during the pandemic (as opposed to order

imbalances caused by defendants’ trading) substantially caused the price declines

observed on April 20, then plaintiff’s claim will fail on the merits. See Greater



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Rockford, 998 F.2d at 401. But that question is amenable to class-wide resolution

because the “signals” affect market participants alike. See Schleicher, 618 F.3d at 686

(explaining that Rule 23(b)(3) certification may be appropriate “even though all

statements turn out to have only trivial effects on stock prices”); cf. Simpson v. Dart,

23 F.4th 706, 712 (7th Cir. 2022) (finding that district court did not need to consider

whether plaintiff’s statistical experts “controlled for racially neutral factors or

whether the tests had been validated for use at other departments” because those

considerations went to the merits rather than commonality).

      That leaves defendants’ Daubert challenge to Pirrong’s TVP-VAR model and

the “flash crash” opinion (which incorporates artificiality estimates throughout the

class period but attributes additional price depression to the trading defendants).

Plaintiff contends that Pirrong’s price-impact model and related causation opinions

are not necessary to establish predominance. [390] at 41. In Ploss, the court declined

to rule on the admissibility of Pirrong’s event-study analysis, which the plaintiff

offered to prove defendant’s scheme artificially inflated prices and to quantify the

impact during the class period. 431 F.Supp.3d at 1015–16, 1021–22. An event study

is a regression analysis that seeks to isolate the effect of a certain event on the price

of a commodity. Id. at 1015. (Pirrong conducts an event-study analysis in this case to

show that no other contracts identified in the April 8 CME release as potentially

trading negative actually traded at negative prices. See [386-1] ¶ 22.) Defendants did

not dispute that Pirrong’s event-study methodology could be used to prove artificially

inflated prices. Id. at 1015–16. Because the plaintiff did not need to prove loss



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causation at the class-certification stage, the court deemed it unnecessary to rule on

the defendant’s motions to exclude Pirrong’s testimony. Id. at 1021 (“So regardless of

whether or not Plaintiffs can ultimately prove causation on the merits using Pirrong’s

model does not affect class certification.”).

       Here too, defendants’ objections to Pirrong’s TVP-VAR model largely implicate

merits issues. See [355] at 33–37 (seeking to exclude Pirrong’s methodology for failing

to estimate “but-for” prices, failing to control for alternative explanations, 10 and being

“over-parameterized”). Unlike in Ploss, however, defendants challenge the TVP-VAR

methodology for being novel, untested, and fundamentally unreliable. See [355] at

30–31. If Pirrong’s model cannot reliably measure price impact, then there is no

common methodology to show class-wide injury because there is no methodology at

all. See Am. Honda, 600 F.3d at 816 (“The court must also resolve any challenge to

the reliability of information provided by an expert if that information is relevant to

establishing any of the Rule 23 requirements for class certification.”). Of course, Rule

23(b)(3) does not require a plaintiff to prove there are common answers to questions,

but an expert’s methodology that cannot generate an answer for any class member

cannot carry plaintiff across the class-certification threshold. I address defendants’

Daubert challenges only to the extent necessary in determining whether Pirrong’s


10 An expert model that ignores obvious alternative factors may be fundamentally unreliable,

but that’s different from a model that attempts to account for alternative explanations and
is flawed. See Schultz v. Akzo Nobel Paints, LLC, 721 F.3d 426, 434 (7th Cir. 2013) (“[A]
reliable expert should consider alternative causes, they do not require an expert to rule out
every alternative cause.”). Pirrong’s TVP-VAR model does account for alternatives, though
defendants may object to the parameters or variables. See [386-2] ¶ 207 (price variations not
explained by order flow in the TVP-VAR estimates are attributable to public, non-trade-
related information).

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TVP-VAR model is capable of reliably measuring price impact on a class-wide basis.

See Schleicher, 618 F.3d at 685.

      Under Federal Rule of Evidence 702 and Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993), expert testimony is admissible only if

relevant and reliable. Rule 702 and Daubert require me to evaluate: “(1) the proffered

expert’s qualifications; (2) the reliability of the expert’s methodology; and (3) the

relevance of the expert’s testimony.” Gopalratnam v. Hewlett-Packard Co., 877 F.3d

771, 779 (7th Cir. 2017). “The focus is on the expert’s methodology, not [their]

ultimate conclusions.” Kopplin v. Wisconsin Cent. Ltd., 914 F.3d 1099, 1104 (7th Cir.

2019). My role is to be an evidentiary gatekeeper, determining whether the proposed

expert testimony crosses the threshold of admissibility, but I may not take the place

of the jury to decide issues of credibility or accuracy. Artis v. Santos, 95 F.4th 518,

527 (7th Cir. 2024) (quoting Lapsley v. Xtek, Inc., 689 F.3d 802, 805 (7th Cir. 2012)).

If expert testimony crosses the threshold, “[v]igorous cross-examination, presentation

of contrary evidence, and careful instruction on the burden of proof” are the

appropriate tools to challenge the evidence. Daubert, 609 U.S. at 596.

      Reliability hinges on “the validity of the methodology employed by an expert,

not the quality of the data used in applying the methodology or the conclusions

produced.” Manpower, Inc. v. Ins. Co. of Pennsylvania, 732 F.3d 796, 806 (7th Cir.

2013). Factors that bear on reliability include: (1) whether the particular theory or

technique can be and has been tested; (2) whether the theory has been subjected to

peer review and publication; (3) the known or potential rate of error; (4) the existence



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and maintenance of standards controlling the technique’s operation; and (5) whether

the theory or technique is generally accepted in the relevant scientific or expert

community. See Anderson v. Raymond Corp., 61 F.4th 505, 509 (7th Cir. 2023).

      Defendants place undue weight on the novelty of Pirrong’s TVP-VAR model in

the market microstructure setting. See [355] at 31. They acknowledge that the

standard vector auto-regression model is widely used, but they take issue with

Pirrong’s adaptation, pointing out that the TVP-VAR model hasn’t been offered in a

commodities-manipulation case or published in a peer-review journal. See [356-2] at

573:12–17. But reliability depends on an expert’s application of methodology to the

specific facts of the case, which requires a deeper look at the underlying principles

and theories informing Pirrong’s methodology. See Lapsley, 689 F.3d at 810 (rejecting

defendant’s objection to the lack of peer-reviewed publications applying expert’s

mathematical model and focusing instead on the reliability of the underlying physics

principles that “have [long] been used and tested… by physicists and engineers”).

      Defendants emphasize, and Pirrong agrees, that April 20 was an unusual

trading day with uncertain economic conditions during the COVID-19 pandemic. See

[386-2] ¶ 175 (“The market microstructure theory implies that price impact is likely

to change because of the conditions that prevailed on April 20, 2020.”).

Acknowledging the limitations of the standard VAR model, Pirrong explains the need

to estimate a VAR that allows for “intra-day variation in price impacts, price

volatilities, and price correlations.” [386-2] ¶ 180. Other academics have similarly

pressed the need to utilize VAR models that are sensitive to variations during volatile



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time periods. See, e.g., Thomas A. Lubik & Christian Matthes, Time-Varying

Parameter Vector Autoregressions: Specification, Estimation, and an Application, 101

Econ. Q. 323 (2015) (“[TVP-VARs] have become an increasingly popular tool for

analyzing the behavior of macroeconomic time series… The attractiveness of TVP-

VARs is based on the recognition that many, if not most, macroeconomic time series

exhibit some form of nonlinearity.”). Defendants suggest the TVP-VAR model is

unreliable because Pirrong’s cited literature involves macroeconomic policy rather

than market microstructure. [355] at 31. Hendershott applied Pirrong’s VAR

equations to the standard VAR model and found the price impact of defendants’

trading activity was “effectively indistinguishable from zero.” [355] at 33 (citing [356-

1] ¶¶ 166–71). Defendants’ criticism misses the point. Macroeconomic conditions at

play on April 20 are why Pirrong finds it inappropriate to apply the standard model.

See TVP-VARs: Specification, Estimation, and an Application 323 (example of

nonlinearity in macroeconomic time series includes when “[s]tock market indices

exhibit occasional episodes where volatility, as measured by the variance of stock

price movements, rises considerably”). Like the standard VAR model, however, the

TVP-VAR model can be estimated using order flows within short time intervals. [386-

2] ¶ 184. Here, Pirrong selected 15-second intervals. [386-2] ¶ 192. Pirrong also

compares the use of the TVP-VAR model against alternatives such as a rolling-

window estimation and non-overlapping window estimation but concludes that the

TVP-VAR is preferable because it does not depend on an arbitrary window size, is

less sensitive to outliers, and estimates parameters more precisely. [386-2] ¶ 182



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(citing Nikolaos Antonakakis, Ioannis Chatziantoniou, David Gabauer, Refined

Measures of Dynamic Connectedness Based on Time-Varying Parameter Vector

Autoregressions, 13 J. Risk Fin. Mgmt. 84 (2020)). Defendants do not explain why a

standard VAR model would be more appropriate to apply in this case, apart from

their objections to the “novelty” of the adapted TVP-VAR model. See Messner, 669

F.3d at 814 (“The fact that a defendant is not required to present evidence to defeat

class certification does not give that defendant license to offer irrelevant and

unreliable evidence.”). Based on the unique circumstances that may have affected

trading activity on April 20 and Pirrong’s application of generally accepted principles

to develop his TVP-VAR model, I am satisfied that Pirrong’s model can reliably

measure class-wide price impact. 11

       The substantive question, then, is whether Pirrong’s model suggests that

proving price impact will require individual treatment and defeat a finding of

predominance. See In re Hydrogen Peroxide Antitrust Litig., 552 F.3d 305, 311 (3d

Cir. 2008) (“If proof of the essential elements of the cause of action requires individual

treatment, then class certification is unsuitable.”). Defendants argue that plaintiff

cannot meet its burden to establish predominance because the price-impact model:

(1) does not explain the last six minutes of the class period; (2) does not consider all




11 Defendants also object that Pirrong doesn’t provide any statistical error rates, [355] at 36,

but Pirrong’s method offers a probability distribution of observing a particular value of
artificiality rather than the probability of observing a particular value under a null
hypothesis (expressed as a p-value). See [386-1] ¶¶ 372–74 & n.336.

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the relevant trading; (3) and impermissibly includes a high number of uninjured class

members. [352] at 40–45.

      Pirrong’s analysis of the last six minutes of the class period incorporates the

price impact estimates from the TVP-VAR model from 9:00 a.m. to 1:24 p.m. [386-2]

¶ 31; [386-1] ¶ 402. The purpose of the additional analysis, Pirrong explains, is to

estimate the additional amount of artificiality attributable to defendants’ trading in

the last six minutes. [386-1] ¶ 402. Again, this portion of Pirrong’s testimony may

support but-for causation, but it is not necessary for plaintiff to meet its burden at

class certification. Cf. Kleen Prods., 831 F.3d at 927. If Pirrong’s TVP-VAR model

fails, then class members who sold during the last six minutes will lose on causation

just the same as class members who sold before 1:24 p.m., regardless of the additional

artificiality estimates that Pirrong calculated for the last six minutes. See Tyson

Foods, 577 U.S. at 442 (whether expert’s study was “unrepresentative or inaccurate”

was “itself common to the claims made by all class members”). It is enough that

plaintiff identifies common proof to establish price impact throughout the class

period.

      Because Pirrong’s model relied exclusively on CME data, defendants say that

individualized inquiries will be required to determine whether a class member was

harmed. [352] at 41. Defendants note the possibility that entities traded outside of

CME’s Globex platform, the need to aggregate a seller’s trading activity across their

accounts to determine if they liquidated a long position, and traders who engaged in

hedging and offsets who may have been “unharmed” or benefitted from the price



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depression (e.g., traders who sold May Contracts on NYMEX and purchased contracts

on the Intercontinental Exchange). [352] 41–44. These concerns do not undermine

the model’s capacity to measure class-wide injury but touch on the need to conduct

individualized damages calculations at a later stage. See Kohen, 571 F.3d at 676

(rejecting proposition that a court is “required to determine which class members had

suffered damages” as “putting the cart before the horse” in a class action).

      More importantly, defendants conflate “harm” in the merits sense with the loss

that a class member will have to show to ultimately recover damages. See id. (“Some

of the class members, discovering that they were not injured at all, will not submit a

claim, and others will submit a claim that will be rejected because the claimant

cannot prove damages, having obtained off-setting profits from going long.”). They

assert that applying Pirrong’s methodology results in 166 out of 1,138 potential class

members being “unharmed.” [352] at 45. Defendants get to that number by

misapplying plaintiff’s theory of injury. Hendershott excludes accounts that (1) first

bought TAS contracts and then sold non-TAS contracts and (2) bought and sold an

equal number of TAS contracts. [352] at 45 n.28. Both these groups are still harmed

because they sold May Contracts at an artificially low price, even if the first group

emerged better off by virtue of the lower settlement price on April 20 and the second

group was left no worse off by the offsetting gains from purchasing contracts. Cf.

Kohen, 571 F.3d at 679 (“The plaintiffs sold short, so, prima facie at least—being

forced as they were to [cover]—they were injured if the price of cover was artificially

inflated during the period between their sale and the delivery date.”). If the class



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succeeds in proving artificial prices, then these members may not recover anything

because they cannot identify losses. That is part and parcel of administering class

recovery; it is not an obstacle to class certification.

       In sum, Pirrong’s TVP-VAR model is capable of resolving the common question

of price impact in “one stroke,” and this common question predominates over any

individualized inquiries. See Wal-Mart v. Dukes, 564 U.S. at 350.

              iii.   Damages

       “It is well established that the presence of individualized questions regarding

damages does not prevent certification under Rule 23(b)(3).” Messner, 669 F.3d at 815

(7th Cir. 2012) (citing Wal-Mart v. Dukes, 564 U.S. at 363). The question is whether

“there is a classwide method for proving damages, and if not, whether individual

damage determinations will overwhelm the common questions on liability and

impact.” Kleen Prods., 831 F.3d at 929 (citing Comcast, 569 U.S. at 34).

       Plaintiff proposes a method of calculating damages based on artificiality

estimates from Pirrong’s price-impact model—the difference between the amount of

“artificiality paid” and “artificiality received” for each purchase and sale of a May

Contract. [311] at 45; [386-2] ¶¶ 393–94. It only measures loss corresponding to

plaintiff’s theory of price artificiality. See Comcast, 569 U.S. at 35 (“[A] model

purporting to serve as evidence of damages in this class action must measure only

those damages attributable to that theory.”). Applying this formula to Mish’s claim

yields a damages calculation of $36,200. [386-2] ¶ 395. Mish purchased ten contracts

at an artificiality equal to negative $8.51 and sold ten contracts at an artificiality

equal to negative $12.13. [386-2] ¶ 395. Pirrong took the difference, multiplied it by
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ten (the quantity of Mish’s sell orders) then by 1000 (number of barrels in a

contract). 12 [386-2] 395 & n.103; [129] ¶ 77.

       Defendants object that this formula is too “simplistic” because it does not

account for individual class members’ positions and trades, both on and off the Globex

platform. [352] at 46–47. These are the kinds of “person-specific issues” that routinely

arise in calculating individual damages, and they can be resolved mechanically. See

Schleicher, 618 F.3d at 681 (calculating when and how many shares an investor

purchased or sold and the timing of each class member’s transactions can be sorted

using a database of time and quantity information). Individualized damages

calculations for class members do not make class treatment inappropriate.

       E.     Superiority

       Class treatment must also be “superior to other available methods for fairly

and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). Class actions

are generally superior when “small recoveries [would] not provide the incentive for

any individual to bring a solo action prosecuting his or her rights,” see Mullins, 795

F.3d at 658, or when collective treatment “would achieve economies of time, effort,

and expense, and promote . . . uniformity of decision as to persons similarly situated,”

Amchem Prods., 521 U.S. at 615.

       Defendants argue that Mish’s low-dollar claim is unusual, and other class

members will likely have significantly larger damages. [352] at 13. Defendants’



12 Pirrong’s equation contains a typo: ($12.13−$8.51)x10x100 does not equal $36,200. The

final factor in the equation should be 1000, not 100, but the damages total accurately reflects
multiplication by 1000.

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expert identifies damages of $1.15 billion, “suggesting claims that, on average, exceed

$1 million.” [352] at 49 (citing [356-1] ¶ 263). Plaintiff responds that the “average”

value is a poor indicator of claim amounts, instead pointing to median net damages,

which shows half the accounts have net damages of less than $1,200. [390] at 58

(citing [386-1] ¶ 656). Defendants’ math is unconvincing. The average value is a poor

proxy for the number of small-value claims, given the presence of large-volume

traders that likely skew the number. See David H. Kaye & David A. Freedman,

Reference Guide on Statistics, in Reference Manual on Scientific Evidence 238 (Fed.

Jud. Ctr. 3d ed. 2011) (“[T]he mean takes into account (indeed, is heavily influenced

by) the magnitudes of the relatively few very large awards, whereas the median

merely counts their number. If one is seeking a single, representative number for the

awards, the median may be more useful than the mean.”). Even if some class

members stand to recover large damages, an individual plaintiff may be unwilling to

bear the costs of litigation in this case, which involves extensive expert testimony to

prove and calculate price artificiality. See Suchanek v. Sturm Foods, Inc., 764 F.3d

750, 760 (7th Cir. 2014) (advising district court to consider that “resolution of the

merits may require costly survey evidence and expert testimony” in evaluating

superiority); see also Carnegie v. Household Int’l, Inc., 376 F.3d 656, 661 (7th Cir.

2004) (“[A] class action has to be unwieldy indeed before it can be pronounced an

inferior alternative—no matter how massive the fraud or other wrongdoing that will

go unpunished if class treatment is denied—to no litigation at all.”).




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      The parties’ competing estimates of recovery are not decisive in any event.

Even if some of the class members’ claims may be worth enough to pursue

individually, common questions are a reason to find a class action superior. See

Messner, 669 F.3d at 814 n.5 (“[T]he more common issues predominate over

individual issues, the more desirable a class action lawsuit will be as a vehicle for

adjudicating the [plaintiff’s] claims.”). If even a dozen or so putative class members

brought individual claims, the same claims and facts would be adjudicated by

multiple courts, expending unnecessary time and effort and creating the risk of

different outcomes. See Suchanek, 764 F.3d at 759. A class action is the superior

device to resolve the claims in this case.

      Finally, defendants allude to an arbitration provision under NYMEX Rule

600.A.1 for “disputes among members.” See [352] at 50 n.29; [361] (letter requesting

plaintiff to arbitrate its claims). That’s not a developed argument. See Gross v. Town

of Cicero, Ill., 619 F.3d 697, 705 (7th Cir. 2010) (perfunctory and undeveloped

arguments are waived). Nor is it clear that the arbitration provision would even apply

to Mish’s or other class members’ claims. See CME Group, Chapter 6: Arbitration, in

Rulebook,                        https://www.cmegroup.com/rulebook/NYMEX/1/6.pdf

[https://perma.cc/5D7U-HX3P] (applying to claims between members relating to the

enforceability of non-complete clauses, terms of employment in the Trading Annex,

and “financial arrangements relating to the resolution of error trades in Exchange

products that are included in an employment agreement”). To the extent that

defendants suggest the arbitration provision undermines superiority, it is unavailing.



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“[A] smattering of individual contract defenses” arising from forum-selection clauses,

jury waivers, and the like do not undermine class certification under Rule 23(b)(3).

Kleen Prods., 831 F.3d at 930 (distinguishing class-action waivers that would bar the

class-action device from other contractual provisions that may only apply to certain

class members). Superiority is satisfied.

IV.   Conclusion

      Defendants’ motion to strike plaintiff’s expert rebuttal reports, [413] and [414],

is denied. Defendants’ request for leave to conduct additional discovery in the

alternative is denied as unnecessary. Defendants’ motion to exclude Craig Pirrong’s

expert testimony, [353], is denied without prejudice to renewal at merits stages.

      Plaintiff’s motion to certify the class, [317], is granted. The following class is

certified: All persons and entities that sold a May 2020 light sweet crude oil (WTI)

futures contract (“May contract”) traded on the New York Mercantile Exchange

between 9:00 a.m. CST and 1:30 p.m. CST (inclusive) on April 20, 2020 (including by

trade at settlement (“TAS”)), to liquidate a long position in the May contract.

      Mish International Monetary Inc., Lovell Stewart Halebian Jacobson LLP, and

Miller Law LLC are appointed representatives of the class.



ENTER:

                                                 ___________________________
                                                 Manish S. Shah
                                                 United States District Judge
Date: June 24, 2025




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